Case 4:06-cr-00257-RAS-DDB           Document 67        Filed 04/07/08      Page 1 of 1 PageID #:
                                            188


                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERM AN DIVISION


UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §            CASE NO. 4:06CR257(2)
                                                 §
HEATHER ROSEMEAD MAY                             §


           MEMORANDUM ADOPTING REPORT AND RECOMMENDATION
                OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this Court having heretofore

referred the request for revocation of Defendant’s supervised release to the United States Magistrate

Judge for proper consideration. The Court has received the report of the United States Magistrate

Judge pursuant to its order. As Defendant has waived her right to object, the Court is of the opinion

that the findings and conclusions of the Magistrate Judge are correct. Therefore, the Court hereby

adopts the findings and conclusions of the Magistrate Judge as the findings and conclusions of the

Court. It is, therefore,

        ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion of the Court.

        It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

        It is finally ORDERED that Defendant be committed to the custody of the Bureau of Prisons

to be imprisoned for time served followed by a 1 year term of supervised release.

             .    SIGNED this the 4th day of April, 2008.




                                                           _______________________________
                                                           RICHARD A. SCHELL
                                                           UNITED STATES DISTRICT JUDGE
